Case: 1:17-cv-01973 Document #: 894 Filed: 02/14/20 Page 1 of 1 PageID #:59373

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Motorola Solutions, Inc., et al.
                                               Plaintiff,
v.                                                          Case No.: 1:17−cv−01973
                                                            Honorable Charles R. Norgle
                                                            Sr.
Hytera Communications Corporation Ltd., et
al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 14, 2020:


        MINUTE entry before the Honorable Charles R. Norgle:Jury trial held on
2/14/2020. Jury deliberations commence. Jury verdict returned in favor of Plaintiffs and
against the Defendants. Trial ends. Motion and status hearing is set for 2/21/2020 at 11:30
a.m. Mailed notice(ewf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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